                                     EXHIBIT B
                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF IOWA

 In Re:

 VeroBlue Farms USA, Inc.                           Bankruptcy No: 18-01297

        Debtor(s).                                  Chapter 11

 VeroBlue Farms USA, Inc.                           Adversary No. 19-09015

        Plaintiff(s).

  vs.

  Cassels Brock & Blackwell LLP

        Defendant(s).

 DEBTORS’ RESPONSE TO DEFENDANT’S FIRST REQUESTS FOR PRODUCTION

        Debtors, for their Responses to Defendant’s First Set of Requests (“Requests”) for

Production of Documents to Debtors, state as follows, noting that Debtors reserve the right to

amend or supplement these responses to the extent permitted by law, and that Debtors’

investigation continues as to each and every response:

                                   GENERAL OBJECTIONS

        Debtors object to the Requests to the extent they seek documents that are protected by the

attorney-client privilege, the work product doctrine, the common interest privilege or any other

applicable doctrine of privilege. Inadvertent disclosure of any such documents shall not be deemed

a waiver of any privilege or immunity.

        Debtors object to the Requests to the extent that they seek confidential documents

pertaining to Debtors’ business and/or economic relationships, or to the extent they seek

documents containing confidential trade secrets, sensitive business or other proprietary
information. Any such documents, to the extent relevant, responsive and not subject to privilege,

will be produced only upon execution by the parties of an appropriate protective order.

       Debtors object to the Requests to the extent they seek documents that contain confidential,

proprietary, or trade secret information of third parties. Debtors will endeavor to work with such

third parties in order to obtain their consent, if necessary, before identifying or producing such

information and/or documents. Debtors similarly object to the Requests to the extent they seek the

production of documents or things that Debtors are under an obligation to a third party or court

order not to disclose.

       The Founders (Leslie Wulf, James Rea, John Rea, Bruce Hall, and Keith Driver) have, at

relevant times, been in collusion with Sean Maniaci of Defendant, and have actively sought to

conceal and shield information that would be further responsive to this interrogatory from Debtors,

as the Founders were in control of Debtors at relevant times. Debtors fully expect to update their

responses if and when Defendant and pertinent third parties produce documents and information

in response to Debtors’ discovery requests and subpoenas, and when Debtors receive proper Rule

26 disclosures from Defendant

       These General Objections are incorporated into each response below.

                                   DOCUMENT REQUESTS

       REQUEST NO. 1: Provide any and all documents identified in Debtors’ Answers to
Cassels’ First Set of Interrogatories to Debtors.

       ANSWER: Responsive documents in Debtors’ possession or control will be produced.

       REQUEST NO. 2: Provide all documents constituting the contract for legal
representation and/or evidencing the attorney-client relationship between Cassels and VeroBlue
Farms USA, Inc.

       ANSWER: See, Debtors’ Answers to Defendant’s First Set of Interrogatories,
numbers 2 and 5 through 9. Debtors will produce documents in their possession or control
that support such answers.


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       REQUEST NO. 3: Provide all documents constituting the contract for legal
representation and/or evidencing the attorney-client relationship between Cassels and VBF
Operations, Inc.

       ANSWER: See, Debtors’ Answers to Defendant’s First Set of Interrogatories,
numbers 2 and 5 through 9. Debtors will produce documents in their possession or control
that support such answers.

       REQUEST NO. 4: Provide all documents constituting the contract for legal
representation and/or evidencing the attorney-client relationship between Cassels and VBF
Transport, Inc.

       ANSWER: See, Debtors’ Answers to Defendant’s First Set of Interrogatories,
numbers 2 and 5 through 9. Debtors will produce documents in their possession or control
that support such answers.

        REQUEST NO. 5: Provide all documents constituting the contract for legal representation
and/or evidencing the attorney-client relationship between Cassels and VBF IP, Inc.

       ANSWER: See, Debtors’ Answers to Defendant’s First Set of Interrogatories,
numbers 2 and 5 through 9. Debtors will produce documents in their possession or control
that support such answers.

         REQUEST NO. 6: Provide all documents constituting the contract for legal
representation and/or evidencing the attorney-client relationship between Cassels and Iowa’s
First, Inc.

       ANSWER: See, Debtors’ Answers to Defendant’s First Set of Interrogatories,
numbers 2 and 5 through 9. Debtors will produce documents in their possession or control
that support such answers.

      REQUEST NO. 7: Provide any and all documents establishing that VeroBlue Farms Inc.,
a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of,
VeroBlue Farms USA, Inc.

       ANSWER: Responsive documents in Debtors’ possession or control will be produced.

       REQUEST NO. 8: Provide any and all documents establishing that VeroBlue Farms Inc.,
a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of, VBF
Operations, Inc.

       ANSWER: Responsive documents in Debtors’ possession or control will be produced.




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       REQUEST NO. 9: Provide any and all documents establishing that VeroBlue Farms Inc.,
a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of, VBF
Transport, Inc.

        ANSWER: Responsive documents in Debtors’ possession or control will be produced.

         REQUEST NO. 10: Provide any and all documents establishing that VeroBlue Farms Inc.,
a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of, VBF
IP, Inc.

        ANSWER: Responsive documents in Debtors’ possession or control will be produced.


         REQUEST NO. 11: Provide any and all documents establishing that VeroBlue Farms Inc.,
a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of, Iowa’s
First, Inc.

        ANSWER: Responsive documents in Debtors’ possession or control will be produced.


        REQUEST NO. 12: Provide any and all documents comprising or evidencing the “contract
with Debtors” made by Cassels to provide legal representation to Debtors as alleged in Paragraph
4 of the Complaint.

       ANSWER: See, Debtors’ Answers to Defendant’s First Set of Interrogatories,
numbers 2 and 5 through 9. Debtors will produce documents in their possession or control
that support such answers.


        Dated: October 15, 2019


 THOMPSON COBURN LLP                                 ELDERKIN & PIRNIE

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